
710 S.E.2d 50 (2011)
STATE of North Carolina
v.
Carsee HUNT.
No. 151P11.
Supreme Court of North Carolina.
June 15, 2011.
Carsee Hunt, Clinton, for Hunt, Carsee.
Latoya B. Powell, Assistant Attorney General, for State of North Carolina.
Edward W. Grannis, Jr., District Attorney, for State of North Carolina.
Upon consideration of the petition filed by Defendant on the 15th of April 2011 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 15th of June 2011."
